                                                                                                                                FILED
                                                                                                                            FEB 2 0 2019
                                 IN THE UNITED STATES DISTRICT COURT                                                  PETER A. MOORE, JR., CLERK
   f .                                                                                                                 us 01sacoURT, EDNC
                    .· ·p'OR. THE EASTERN DISTRICT OF NORTH CAROLi.NA                                                BY       ·           DEPCLK
                                                              WESTERN DIVISION
                   .. ; ':::: •, .•; . : .    civil'AbtiJriN~o::'.5'.!t8::bv~Oo48~:l~'Bcf   ..-.,.   D~i:;_.·.·,,,    ~;"!'!.: ':•··   r ,-::·:_·.:

EPIC GAMES, INC.,
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                            )
                                   .   '.   ,.;   .   - .- ; ~; ' :    :.-:~,   :: ;
                                                                                                                                   ..-·.-


                         ···:)'                                                                                      . i

Plaintiff,                  )
                            )
v.                          )                                          MOTION TO EXTEND THE
                            )                                          TIME TO FILE AN ANSWER
BRANDON LUCAS and COLTON    )                                         AND TO FILE Rule 26F REPORT
CONTER,                     )
    I      .                 )
Def¢ndants,   · ·'·         )



   ...
   ,.
         The Defendant Brandon Lucas hereby files a motion to extend the time to file an answer to the
   r
above captioned complaint and to file the Rule 26 F Report.. The motion date will be scheduled by the

Court after proper notice to the Pfaintiffs attbrney ·chi-istoph_er' Thomas. The Defendant, Brandon Lucas,

will rely on the affidavit submitted:


This the 8th day of February, 2019

                                                                      BRANDON LUCAS, prose



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                                                                      Brandon Lucas
                                                                                       1
                                                                       11211 South Military Trail
                                                                      Apt. #5021
                                                                      Boynton Beach, FL 33436
                                                                      juniorolympicgold@gmail.com

                                                                      Defendant, pro se




               Case 5:18-cv-00484-BO Document 26 Filed 02/20/19 Page 1 of 2
                                  AFFIDAVIT


    1.   A telephone conference call occuffed on January 16, 2019. During the
         conference attorney, Christopher Thomas discussed many matters associated
         with the matter at hand.

    2.   The issues of filing documents were discussed and we had agreed that an answer
         to the complaint would be extended for an additional 21 days in hopes of settling
         this case. I was also unaware that my Rule 26(f) report was also due within a
(        certain time. I am asking the Court for additional time to file these documents. I
         understand that Christopher Thomas, Esquire has no objection to my motion.




                                                          ·e~~
                                                                Brandon Lucas




           Case 5:18-cv-00484-BO Document 26 Filed 02/20/19 Page 2 of 2
